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                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 UNITED STATES OF AMERICA

                                                      Case No. 1:18-cr-00226-RJJ

               v.                                     Honorable Robert J. Jonker

 NING XI


_________________________________/

            DEFENDANT DR. NING XI’S PROPOSED VOIR DIRE QUESTIONS

       Defendant Dr. Ning Xi, by and through his attorneys, respectfully requests that the

following questions be included in the voir dire of prospective jurors in this case.

       1.      If you have ever served as a juror or as a grand juror, please describe when, where

and the nature of the case, whether you were elected as the foreperson, and whether a verdict was

reached.

       2.      Do you watch the news or read the newspaper on a regular basis? If so, what are

your primary news sources?

       3.      Have you, your spouse, or any close relative or friend ever been a witness in a court

case? If so, please explain.

       4.      Have you, your family members, or anyone close you ever worked for an attorney

or a prosecutor’s office?

       5.      On a personal or professional basis, do you know any judges, judicial clerks,

criminal defense attorneys, investigators, state or federal prosecutors, or anyone else involved in

criminal defense or prosecution work?


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       6.      Have you ever seriously considered going to work in law enforcement or taken law

enforcement classes?

       7.      Have you ever had any dealings with a law enforcement agency? If so, please tell

us about any favorable or unfavorable experiences you had with the agency.

       8.      In your deliberations, are you willing to abide by your convictions and not agree

with other jurors solely for the purpose of getting along with them or finishing deliberations if you

are convinced that the opinions of the other jurors are not correct?

       9.      Does the fact that the defendant has been indicted make it difficult for you to

presume he is innocent?

       10.     Have you, your family members, or anyone close to you ever been a student or

taken classes at Michigan State University or any institution affiliated with Michigan State

University?

       11.     Have you, your family members, or anyone close to you ever been employed by

Michigan State University or any entity affiliated with Michigan State University – for example,

the MSU Federal Credit Union?

       12.     Have you, your family members, or anyone close to you ever been a member,

volunteer, or employee of the Institute of Electrical and Electronics Engineers (IEEE)?

       13.     During any employment, did your work responsibilities ever require you to travel

out of state or country?

       14.      Have you ever been responsible for preparing or processing expense

reimbursement submissions?




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Dated: June 3, 2019                      /s/ Ronald S. Safer
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